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                              Notice of Potential Rights for
           Certain Detained Alien Parents Separated from their Minor Children

On June 26, 2018, a federal court issued a nationwide preliminary injunction in the case of Ms. L
v. I.C.E., ---F. Supp. 3d---, 2018 WL 3129486 (S.D. Cal. June 26, 2018).

You may be a class member who has rights under this lawsuit if:

   •   You are or were detained in custody by the U.S. Department of Homeland Security
       (DHS); and
   •   Your minor child was separated from you by DHS and is detained in the custody of the
       U.S. Department of Health and Human Services, Office of Refugee Resettlement (ORR),
       ORR foster care, or DHS custody.

If you are determined to be a class member:

   •   The government must reunify you with your child.
   •   You do NOT need to take any action to be reunified with your child.
   •   The government must reunify you by the following dates unless otherwise ordered by the
       Court:
       a.      If your child is younger than 5 years old, he or she must be reunified with you by
               July 10, 2018.
       b.      If your child is 5 or older, he or she must be reunified with you by July 26, 2018.
   •   You do NOT need to agree to removal from the United States in order to be reunified
       with your child. You may continue to fight your case. You should NOT be pressured to
       agree to removal in order to be reunified with your child.

You are not a class member and do not have rights under this lawsuit if:                             Comment	[A1]:	Plaintiffs	would	remove	this	language.			


   •   You were apprehended by DHS in the interior of the United States;
   •   You have a criminal history other than illegal entry;
   •   You have a communicable disease;
   •   A determination is or has been made that you are unfit or present a danger to your minor
       child.

IMPORTANT: Even if you are not a class member, if you were separated from your
children, you may still have a right to be reunified with your child, and should contact the
lawyers in this case by phone or by writing a letter.                                                Comment	[A2]:	Plaintiffs	would	add	this	language.		


If you have any questions about your potential rights, please contact the lawyers for the case at
646-905-8892 or write to the lawyers at this address:

                                       Ms. L. Class Counsel
                                   American Civil Liberties Union
                                    125 Broad Street, 18th Floor
                                       New York, NY 10004
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IMPORTANT

Instructions: This information on this page must be read to the alien parent in a language that he/she
understands. The Notice must be given to the alien parent at the same time as this form. The alien parent
should indicate which option he/she is choosing by signing the appropriate box below.

You DO NOT have to agree to removal from the United States in order to be reunified with your
child. Even if you continue to fight your case, the government must still reunify you.

IF YOU LOSE YOUR CASE AND THE GOVERNMENT IS GOING TO REMOVE YOU
FROM THE UNITED STATES, you must decide at that time whether you want your child to
leave the United States with you.

Parent Name / Nombre de Padre:________________________________________________________
Parent A # / A # de Padre: ______________________________________________________________
Country of Citizenship / Pais de Ciudadania: ______________________________________________
Detention Facility / El Centro de Detención: _______________________________________________
Child(ren) Name(s) / Nombre de Hijo: ___________________________________________________
Child(ren) A # / A # de Hijo: ____________________________________________________________

CHOOSE ONE OPTION:

_____ If I lose my case and am going to be removed, I would like to take my child with me.

_____ If I lose my case and am going to be removed, I do NOT want to take my child with me.

_____ I do not have a lawyer, and I want to talk with a lawyer before deciding whether I
want my child removed with me.                                                                              Comment	[A3]:	Plaintiffs	believe	there	should	be	48	hours	
                                                                                                            to	consult	with	a	lawyer;	Defendants	believe	it	should	be	24	
                                                                                                            hours.		


                                            Certificate of Service

I hereby certify that this form was served by me at________________________
                                                           (Location)
on ___________________________ on _____________________________, and the contents of this
               (Name of Alien)                              (Date of Service)

notice were read to him or her in the __________________________ language.
                                                      (Language)

___________________________________ __________________________________________
            Name and Signature of Officer                Name or Number of Interpreter (if applicable)
